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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1648V
                                          UNPUBLISHED


    RHONDA HERNANDEZ,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: July 27, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Tyler King, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On November 23, 2020, Rhonda Hernandez filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to
vaccine administration (“SIRVA”), which meets the Table definition for a SIRVA injury,
following the receipt of an influenza vaccine on October 17, 2019. Petition at ¶¶ 2, 9;
Stipulation, filed at July 26, 2022, ¶¶ 1-2, 4. Petitioner further alleges that she received
the vaccine in the United States, that she suffered the residual effects of her SIRVA more
than six months post-vaccination, and that neither she nor any other person has filed a
civil action or received compensation for her SIRVA. Petition at ¶¶ 9-11; Stipulation at ¶¶
3-5. “Respondent denies that [P]etitioner sustained a SIRVA Table injury, denies that the
influenza vaccine caused [P]etitioner’s alleged shoulder injury, or any other injury, and
further denies that the influenza vaccine caused [P]etitioner to suffer from any other injury
or her current condition.” Stipulation at ¶ 6.
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Nevertheless, on July 26, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $20,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFF1CE OF SPECIAL MASTERS


 RHONDA HERNANDEZ,
                                                              No. 20-1648V
                 Petitioner,
                                                              Chief Special Master Corcoran
                                                              ECF
 V.

 SECRETARY OF HEALTH AND HUMAN
 SERVICES,

                 RespondenL


                                            STIPULATION

The parties hereby stipulate to the following matters:

        1.   Petitioner Rhonda Hernandez ("petitioner") filed a petition for vaccine compensation

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to -34 (the

"Vaccine Program"). The petition seeks compensation for injuries allegedly related to

petitioner's receipt of the influenza vaccine, whi~h contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3(a).

       2.    Petitioner received the influenza vaccine on October 17, 2019.

       3.    The vaccine was administered within the United States.

       4.    Petitioner alleges that she sustained a shoulder injury related to vaccine

administration ("SIRVA") within the time period set forth in the table, or in the alternative, that

her alleged shoulder injury was caused by the vaccine. Petitioner further alleges that she

experienced the residual effects of her injury for more than six months.

       5.    Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.
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        6.    Respondent denies that petitioner sustained a SIRVA Table injucy; denies that the

influenza vaccine caused petitioner's alleged shoulder injury, or any other injury, and further

denies that the influenza vaccine caused petitioner to suffer from any other injury or her current

condition.

        7.    Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.    As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

        A lump sum of $20,000.00 in the fonn of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under42 U.S.C.
        § 300aa-15(a).

       9.     As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        10.    Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or




                                                  2
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State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11.   Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.   The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa- 15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300 aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the influenza vaccination administered on October 17,

2019, as alleged in a petition for vaccine compensation filed on or about November 23, 2020, in

the United States Court of Federal Claims as petition No. 20-1648V.
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Respectfully submitted,




ATIORNEYOFRECORDFOR                                        AUTHORIZED REPRESENTATIVE
PETITIONER:                                                OF THE ATTORNEY GENERAL:


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Dated:   7/2 (, b.
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